
EMILIO M. GARZA, Circuit Judge,
dissenting in part:
For the reasons expressed in my dissents in Vargas-Duran, Sarmiento-Funes and Calderorir-Pena, I continue to believe that Vargas-Duran, Sarmiento-Funes and Calderorir-Pena were wrongly decided. See United States v. Vargas-Duran, 356 F.3d 598, 610-16 (5th Cir.2004) (Garza, J. dissenting); United States v. Calderon-Pena, 383 F.3d 254 (5th Cir.2004) (Garza, J. dissenting) United States v. Sarmiento-Funes, 374 F.3d 336, 346-47 (5th Cir.2004) (Garza, J. dissenting).
